                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION

 JUDY L. MOON, ET AL                          )
                                              )
 v.                                           )      Case No. 6:09CV00064
                                              )
 BWX TECHNOLOGIES, INC. ET AL                 )
                                              )
 _____________________________                )


                                     MOTION TO REMAND

        Pursuant to 28 U.S.C. Section 1447 (c), the plaintiffs hereby move the Court to

 remand this case back to the Lynchburg Circuit Court from whence it was removed on the

 basis that this Court lacks subject matter jurisdiction. Plaintiffs respectfully submits: that the

 removed lawsuit does not “relate to” the Employer Retirement Income Security Act, 29

 U.S.C. Section 1001 et seq., (ERISA) under the conflict preemption provision in 29 U.S.C.

 Section 1144 (a); that plaintiffs’ lawsuit does not assert any claim for benefits against a

 ERISA plan or entity affecting the administrative functioning of such a plan; and that

 plaintiff’s decedent was not eligible to participate in an ERISA life insurance plan at the time

 of the alleged contract with and payments to BWXT thereby precluding plaintiff from seeking

 any civil recovery from an ERISA plan under 29 U.S.C. Section 1132 for the alleged wrongs.

 For the reasons set forth in more detail in the accompanying Memorandum of Law and

 others deemed proper by the Court, the plaintiffs therefore move the Court to grant their

 motion to remand, to award reasonable costs and legal fees and for such other and further

 relief as the Court deems proper.




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                                                       JUDY L. MOON, et al




                                                       By: __/s/ Sidney H. Kirstein____
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                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that he emailed a true copy of the

 foregoing documents to Mr. Kevin Oddo, counsel of record, to his last-known email address

 this day of January 2010.



                                                       __/s/ Sidney H. Kirstein____
                                                       SIDNEY H. KIRSTEIN




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 motion to remand




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